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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Jay Clifford Newswanger
        Kelly Jo Newswanger fka Kelly J
Walters                                                                              Chapter 13
                              Debtors

LAKEVIEW LOAN SERVICING, LLC
                      Movant                                                    NO. 24-11167 PMM
           v.

Jay Clifford Newswanger
Kelly Jo Newswanger fka Kelly J Walters                                        11 U.S.C. Section 362
                              Debtors

Scott F. Waterman
                                    Trustee


                                                         ORDER
         AND NOW, this 24th day of June                    , 2025 upon the filing of a Certification of Default by the
Moving Party in accordance with the Stipulation of the parties approved on October 8, 2024, it is ORDERED
AND DECREED that:
         The Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy Abuse
Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and the Co-Debtor Stay
under Section 1301 of the Bankruptcy Code (if applicable), is modified with respect to the subject premises located
at 1904 Pennsylvania Ave, Lititz, PA 17543 (“Property”), so as to allow Movant, and its successors or assignees,
to proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in rem State Court
remedies including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially pursuing
other loss mitigation alternatives including, but not limited to, a loan modification, short sale or deed-in-lieu of
foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take any
legal action for enforcement of its right to possession of the Property.
                                                       (a)(4)
         The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




                                                                Hon. Patricia M. Mayer
                                                                United States Bankruptcy Judge.
